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                ORAL ARGUMENT NOT YET SCHEDULED

              IN THE UNITED STATES COURT OF APPEALS
              FOR THE DISTRICT OF COLUMBIA CIRCUIT

UTILITY SOLID WASTE ACTIVITIES )
GROUP, ET AL.                         )
                                      )
     Petitioners,                     )
                                      ) Case No. 15-1219                       (and
                                      ) consolidated cases)
v.                                    )
                                      )
UNITED STATES ENVIRONMENTAL )
PROTECTION AGENCY, ET AL.,            )
                                      )
Respondents.                          )
_____________________________________ )

           PETITIONER CITY UTILITIES OF SPRINGFIELD’S
                NONBINDING STATEMENT OF ISSUES

      Petitioner, the City of Springfield, Missouri, by and through the Board of

Public Utilities (“City Utilities”) filed its Petition for Review, assigned Case No.

15-1227 on July 16, 2015 (Doc. #1562844). That case was consolidated by Court

Order dated July 17, 2015, with Case Nos. 15-1219, 15-1221, 15-1222, 15-1223,

15-1228 and 15-1229. In accordance with the deadlines set by this Court in its July

17, 2015 Order (Doc. #1563110), City Utilities is filing this preliminary and

nonbinding statement of issues.

      1.    Whether Respondent Environmental Protection Agency (“EPA”)

acted arbitrarily, capriciously, or otherwise contrary to law through enacting
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certain provisions of the “Hazardous and Solid Waste Management System;

Disposal of Coal Combustion Residuals From Electric Utilities” rule (the “CCR

rule”), specifically:

            A.      Sections 257.1, 257.50, and 257.52, by failing to exclude from

             the CCR rule or otherwise provide exception for landfills and

             impoundments which are approved and/or permitted under an existing

             state solid waste utility landfill or Clean Water Act regimen;

            B.      Section 257.53, by excluding underground coal mines or caves

             in the definition of a coal combustion residuals (“CCR”) landfill, but

             not excluding underground "hard rock" mines, including underground

             limestone quarries;

            C.      Section 257.60, by requiring closure of existing impoundments

             if there is an "intermittent" hydraulic connection, and presuming

             without support that the undefined "intermittent connection" would

             result in adverse effects on health or the environment, rather than

             allowing a determination as to whether or not that is the case pursuant

             to Sections 257.93-98.

            D.      Sections 257.60-64, by imposing location restrictions for

             existing surface impoundments without adequate cost-to-benefit

             analysis, particularly with regard to small impoundments (less than 20


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              acres, less than 20 feet deep) since there is no showing of a reasonable

              probability of adverse effect on health or the environment from the

              potential failure of small impoundments;

             E.     Section 257.103 (a)(i) and (b)(1)(i), by not allowing a showing

              of a lack of alternative disposal capacity to be based on an increase in

              cost or inconvenience; and

             F.     Section 257.103(b)(2), by allowing CCR surface impoundments

              of 40 acres or less to continue operation only through 2023, while

              Section 257.103(b)(3) allows impoundments larger than 40 acres to

              continue through 2028.

      2.      Whether    Section    257.53     is   arbitrary   and   capricious   and

unconstitutionally vague, by defining a CCR surface impoundment as one that is

designed to hold CCR and liquids, but failing to define coal combustion residuals

or "liquids" in a manner which allows determination of what minimum levels or

concentrations of either create an impoundment.

      3.      City Utilities reserves its right to modify or supplement this statement

of issues as well as to address these and other issues in more detail in future

pleadings.




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                                          Respectfully submitted,

                                          /s/ Thomas J. Grever
                                          Thomas J. Grever
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Dated: August 17, 2015                 Counsel for Petitioner




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                       CERTIFICATE OF SERVICE


     I hereby certify that on this 17th day of August, 2015, the foregoing

Statement of Issues by City Utilities of Springfield was served by the Court’s

CM/ECF System on all counsel of record in this matter who have registered with

the CM/ECF System.


                                          Respectfully submitted,

                                          /s/ Thomas J. Grever
                                          Thomas J. Grever
                                          Counsel for Petitioner




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